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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                          AMARILLO DIVISION


DARRELL KIMBROUGH, MSN,                                          §
FNP-C, et al.,                                                   §
                                                                 §
          Plaintiffs,                                            §
                                                                 §
v.                                                               §              2:18-CV-82-D
                                                                 §
NAEEM KAHN, M.D. and                                             §
AMARILLO URGENT CARE, LLC,                                       §
                                                                 §
          Defendants.                                            §



                                                SCHEDULING ORDER

          The presiding United States District Judge has referred this case to the undersigned United

States Magistrate Judge for pretrial management. The District Judge will set the pretrial and trial

schedule by separate order.

          Pursuant to Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure, the Civil Justice

Expense and Delay Reduction Plan for the United States District Court, Northern District of Texas

(Misc. Order No. 46), and the current Local Civil Rules of the United States District Court for the

Northern District of Texas, and also after having considered the parties’ Joint Status Report and

Scheduling Order and their attorneys’ comments at the Rule 16 Scheduling Conference, the Court

enters this Scheduling Order.1


                          I. PROPOSED ORDERS and “EMERGENCY MOTIONS”

          If a party submits any proposed order to the Court, including such orders as an agreed

protective order, the party shall email the proposed order to reno_orders@txnd.uscourts.gov with the

1If a date specified in this Order falls on a Saturday, Sunday, legal holiday, or date on which the United States District Clerk’s

office is closed or is otherwise inaccessible, the deadline is the next day that is not one of the aforementioned days. See Fed. R.
Civ. P. 6(a)(3).
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case number and document number of the accompanying motion in the subject line.

         When a party makes an electronic filing that requests “emergency,” “expedited,” or similar

relief or provides for agreed relief concerning a fast-approaching deadline, the party should assume the

Court is unaware of the filing. When such relief is sought, counsel should arrange to have a judge’s

copy promptly delivered to the United States District Clerk or to chambers.


                                     II. PRETRIAL SCHEDULE

         The parties must comply with each of the following deadlines unless a deadline is modified by

the Court upon a showing of good cause as required by Federal Rule of Civil Procedure 16(b).


A.       Joinder of Parties

         A party must file a motion for leave to join other parties on or before October 1, 2018.


B.       Initial Disclosures

         The parties shall make initial disclosures on or before October 10, 2018.


C.       Mediation

         Pursuant to the parties’ agreement, the parties shall mediate this case on or before November

16, 2018. Upon completion of mediation, the mediator shall inform the Court whether this case

has or has not settled by filing a mediation summary report with the United States District Clerk

on or before three (3) business days after the completion of mediation.


D.       Expert Witnesses

         Parties seeking affirmative relief must designate expert witnesses on or before November 30,

2018, and must otherwise comply with Federal Rule of Civil Procedure 26(a)(2) expert disclosure

requirements on or before January 2, 2019.

         Parties opposing affirmative relief must designate expert witnesses on or before February 1,



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2019, and must otherwise comply with Federal Rule of Civil Procedure 26(a)(2) expert disclosure

requirements on or before March 1, 2019.

          Any party who intends to offer expert evidence “intended solely to contradict or rebut evidence

on the same subject matter identified by another party under Rule 26(a)(2)(B) or (C)” must designate

expert witnesses and otherwise comply with Rule 26(a)(2) expert witness reports on or before April

1, 2019.


E.        Completion of Discovery

          The parties must complete all expert and factual discovery on or before May 13, 2019.


F.        Objections to Expert Witnesses

          Objections to a party’s expert witness shall be filed on or before June 12, 2019.


G.        Summary Judgment/ Dispositive Motions2

          Any motion for summary judgment or other dispositive motion must be filed on or before July

12, 2019. The deadline imposed by the Local Civil Rules for filing a motion for summary judgment

does not apply in this case because the Court, by this Order, has established a different deadline.

Counsel should carefully review Local Civil Rule 56.2(b) which limits a party to filing one (1)

summary judgment motion “[u]nless otherwise directed by the presiding judge, or permitted by law.”




2Local  Civil Rule 7.1 provides responses to opposed motions must be filed within 21 days from the date the motion is filed, and
replies may be filed within 14 days from the date the response is filed, unless otherwise directed by the presiding judge. Federal
Rule Civil Procedure 6(d), which provides that “[w]hen a party may or must act within a specified time after being served and
service is made under Rule 5(b)(2)(C) (mail), (D) (leaving with the clerk), or (F) (other means consented to), 3 days are added after
the period would otherwise expire under Rule 6(a),” does not apply to response and reply due dates calculated under Local Civil
Rule 7.1. These due dates are calculated according to the motion and response’s filing date rather than the date of service.

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H.       Amendment of Pleadings

         Parties must file any motion for leave to amend pleadings on or before August 12, 2019.


I.       Motions Not Otherwise Covered

         A party must file a motion not otherwise covered by this order on or before October 1, 2019.

This deadline does not apply to motions in limine or to objections filed pursuant to Federal Rule of

Civil Procedure 26(a)(3), which must be filed no later than the deadlines that will be established by the

trial setting order that the District Judge will issue later.


J.       Rule 26(a)(3) Disclosures

         The parties must file Rule 26(a)(3) disclosures on or before October 9, 2019.


                        III. TRIAL READY DATE/ ORDER SETTING TRIAL

         The parties shall be ready for trial on or before November 18, 2019. This is not a trial setting.

The District Judge will issue a subsequent and separate order setting the case for trial.


                         IV. RULE 26(a) DISCLOSURES AND DISCOVERY
                                MATERIALS NOT TO BE FILED

         Counsel are reminded that, pursuant to Federal Rule of Civil Procedure 5(d)(1), disclosures

under Federal Rule of Civil Procedure 26(a)(1) or (2), and the following discovery requests and

responses — depositions, interrogatories, requests for documents or tangible things or to permit entry

onto land, and requests for admission — must not be filed until they are used in the proceeding or the

Court orders filing.


                                 V. MODIFICATION OF DEADLINES

         THESE SCHEDULING DEADLINES WILL BE FIRM and shall not be modified except

as specifically provided for herein or by leave of Court upon a detailed factual showing of good cause

and due diligence in compliance with this Order.
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            IT IS SO ORDERED.

            ENTERED September 24, 2018.




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